. 01-VAW Add`t` ns i1i01 Amended.l d ment in a Criminal Case
AO 245'B (Re§\fh:fei 1 l m ) u g (NOTE: identify Changes with Asterisks (*))

UNITED STATES DISTRlCT COURT

Western District of Virginia
UN[TED STATES OF AMER,GA AMENDED JuDeMENT lN ACLQ,§@.MNAL cAsE

 

V (For Offenses Committed On or After Novenai;e[Y » hist com
' CASE NUMBER: 6=01CR70081-002 titles a m
TRACI ELAINE UPSHUR
. . _ /EEB 33 2005
Date of Orlglna| Judgment: /?FHI!_ 91 3001 Gary Lance Srmth,Esq. _y §_ g

(or Date of Last Amended Judgment)

Defendant's Attorney BM m ’\Q'Y'?,§N* CLERK
Reason for Amendment: §EPWV

l:l Correczion or sentence on Remand (Fed.R. crim_ P. asian |:| Mudincation of supervision conditions (18 U.s.C. §. 3563{¢)(§5“¥
3563(e))

i:| Reduction of Sentence for Changed Circumstances (Fed. R. Crim. P. 35(b))E] l\/lodification of imposed Term of lm risonment for Extraordinary and
compelling seasons (ta u.s.c. § 3 sz(c)u))

l:] Correction of Sentence by Sentencing Court {Fed. R. Crim. P.35(c)) ij Nlodification of imposed Term of imprisonment for Retroactive Amend-
meni(s} to the Sentencing Guidelines {18 U.S.C. § 3582(c}(2})
® Correction of Sentence for C|erical Mistake (Fed. R. Crirn. P. 36) i:l Difect MDUON to DiS¥FiCt Court PUFSUant to ij 28 U.S‘C. § 2255.

i,:| 18 U.S C § 3559(c)(7} or m Nloc|ification of Restitution Order
THE DEFENDANT:

m pleaded guilty to count(s)

 

g pleaded nolo contendere to count(s)
which was accepted by the court.

a was found guilty on count(s) 1» 2, 4 & 5
after a plea of not guilty_

 

 

. . Date Offense Count
Tlt|e & Sectlon Nature of Offense concluded Mg(§l
18 U.S.C. § 371 Conspiracy to Provide a False Statement to a Licensed Firearms March 12, 1999 1
Dcalcr
18 U.S.C. § 922(a)(6) False Statemcnt in the Acquisition of a Firearm from a Licensed August 28, 1998 2
Firearms Dealer
The defendant is sentenced as provided in pages 2 through 9 of this judgment The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.
§ The defendant has been found not guilty on count(s) 7
E Count(s) dismissed on the motion of the United States.

 

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district Within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed
by this judgment are fully paid.

Defendant's Soc. Sec. No 198'58'5237 April 04, 2002
Date of imposition of Judgment

 

 

 

 

 

Defendant's Date of Birth.: July 7-.» 1964

Defendant's USN| No.: 09321-084

Defendant's Residence Address: wMé/ L,é M
153 Hassan Circle SignatLh-e of Judicia| Officer

Red House, VA 23963-0152

Norman K. Moon, United States District Judge

 

Name and Tit|e of Judicial Oft`lcer

Defendant's Mai|ing Address:

153 Hassan Circle \9, -~*“
Red House, vA 23963_0152 ,e/£AMM#»{ <=-23/, web

Date d

Case 6:Ol-cr-70081-NKl\/| Document 71 Filed 02/23/05 Page 1 of 7 Pageid#: 5

AO 2450 (Rev. 3/01-VAW Additions 11/01) Amended Judgment in a Crimina| Case:
` Sheet 1 - Reverse

Judgment- Page 2 of 9
DEFENDANT: TRACI ELAINE UPSHUR
CASE NUMBER: 6:01CR70081-002

ADD|T|ONAL COUNTS OF CONV|CTION

Date Offense Count
Tit|e & Section Nature of Offense Concluded Numbers
18:U.S.C. § 922(d)(1) Disposal of a Firearm to a Convicted Felcn August 28, 1998 4
18:U.S.C. § 922(a)(6) False Statement in the Acquisition of a Firearm from a March 12, 1999 5

Licensed Fireams Dealer

Case 6:Ol-cr-70081-NKl\/| Document 71 Filed 02/23/05 Page 2 of 7 Pageid#: 6

AO 2450 (Rev. 3i01-VAW Addiiions 11i01) Amended Judgment in a Criminal Case:
' Sheet 2 - imprisonment

 

Judgment- Page 3 Of
DEFENDANT: TRACI ELAINE UPSHUR

CASE NUiviBER: 6:01CR70081-002

iMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total term of 15 month(s)

The term consists of terms of 15 months on each of Counts 1, 2, 4 & 5, all such terms to run concurrently.

m The court makes the following recommendations to the Bureau of Prisons:

m The defendant is remanded to the custody of the United States Niarshai.

g The defendant shall surrender to the United States Niarshal for this district'.

|:| at on

g as notified by the United States Marsha|.

 

l:l The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

i:l before on
|:| as notified by the united states ivlerehei.

m as notified by the Probation or Pretrial Services Office.

RETURN

| have executed this judgment as foilows:

 

 

 

Defendant delivered on to

 

at with a certified copy of this judgment

 

UN |TED STATES MARSHAL

 

By
ease szol-cr-?ooel-NKi\/i Document 71 i=iieoi 02/23/05 PageD??ué‘tWS' §§ae'io#:?

AO 2450 (Rev. 3!01-VAW Additions 11/01) Amended Judgment in a Criminai Case:
` Sheet 3 - Supervised Reiease

 

DEFENDANT: TRACI ELAINE UPSHUR Judgment Page 4 Oi 9
CASE NUMBER; 6:01CR70081-002

SUPERV|SED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of two year(s)

***The term consists of terms of two years on each of counts 1, 2, 4, & 5 to run concurrently.

MANDATORY CONDlTlONS OF SUPERV|S|ON

1) The defendant shall report to the probation office in the district to which the defendant is released within 72 hours
of release from the custody of the Bureau of Prisons.

2) The defendant shall not commit another federall state or local crime
3) The defendant shall not illegally possess a controlled substancel

For offenses committed on or after Septernber 13, 1994:

4) The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one
drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as directed by
the probation officer.

The above drug testing condition is suspended based on the court's determination that the defendant poses
a low risk of future substance abuse. (Check, if applicabie.)

5) |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the
defendant pay any such fine or restitution that remains unpaid at the commencement of the term of supervised
release in accordance with the Schedule of Payments set forth in the Crimina| iVionetary Pena|ties sheet of this
judgment

g The defendant shall not possess a firearm, destructive devicel or any other dangerous weaponl (Checi<, if applicabie.)

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The
defendant shall also comply with the special conditions on the Special Conditions of Supervision page.

STANDARD COND|T|ONS OF SUPERV|S|ON

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within
the first five days of each month;

3) the defendant shall answer truthfully ali inquiries by the probation officer and follow the instructions of the
probation ocher;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling,
trainingl or other acceptable reasons;

5) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

s) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
administered;

9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any
person convicted of a felony unless granted permission to do so by the probation officer; .

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view of the probation officer;

11i the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by
a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
without the permission of the court;

13} as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant's criminal record or personal history or characteristics and shall permit the probation officer to make

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AO 2450 (Rev. 3/01-VAW Additions 11!01) Amended Judgment in a Criminal Case:
Sheet~$ Continued 2- Supervised Reiease

 

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DEFENDANT: TRACI ELAINE UPSHUR
CASE NUMBER: 6=01CR70081-002

SPEC|AL COND|T|ONS OF SUPERV|S|ON

l. The defendant shall pay any special assessment that is imposed by this judgment.

2. The defendant shall not possess a firearm or destructive device and shall reside in a residence free of firearms and destructive
devices.

3. The defendant shall submit to warrantless search and seizure of person and property as directed by the probation officer, to
determine whether the defendant is in possession of firearms.

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AO 2450 lRevt 3iill-VAW Additions lillii) Amended Judgment in a Criminai Case:
~ Sheet 5, Part A - Criminal Monetary Penaities
DEFENDANT: TRACI ELAINE UPSHUR
CASE NU iviBER: 6=01CR70031-002

CRlMlNAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments
set forth on Sheet 5, Part B.

Assessment Fine Restitution

Tota ls: $400.00

Judgment - Page 6 of 9

 

m if applicablel restitution amount ordered pursuant to plea agreement

F|NE

The above fine includes costs of incarceration and/or supervision in the amount of

 

The defendant shall pay interest on any fine more than $2,500, unless the fine is paid in full before the fifteenth day
after the date ofjudgment, pursuant to 18 U.S.C. § 3612(f). Al| of the payment options on Sheet 5, Part B may be subject
to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

m The court has determined that the defendant does not have the ability to pay interest and it is ordered that:

E The interest requirement is waived.

n The interest requirement is modified as follows:

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AO 2450 (R_ev. 3/01-VAW Additions iiiOi) Amended Judgment in a Criminal Case:
' Sheet 5, Part B - Schedule of Payments

DEFENDANT: TRACI ELAINE UPSHUR Judgment Page __H."_of,_§‘d_
CASE NUMBER; 6:01CR70081-002

SCHEDULE OF PAYMENTS

l-iaving assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:
A g l_ump sum payment of $ 400.00 due immediately, balance due
m not later than , or

[\ in accordance with m C, l:\ D, or m Ebelow;or

days) after release from imprisonment to a term of supervision; or

B E| Payment to begin immediately (may be combined with E| C, m D, or n E below; or
C m Payment in (e.g., equai, weekiy, monthiy, quarterly) installments of $
to COmmenCe (e.g.l 30 or 60 days) after the date of this judgment; or
D l:l Payment in (e.g., equai, weekly, monthiy, quarterly) installments of $
over a period of (e.g., months or years), to commence (@_g_, 30 cr 60

Speciai instructions regarding the payment of criminal monetary penalties:

Any installment schedule is subject to adjustment by the court at any time during the period of imprisonment or supervision, and
the defendant shall notify the probation officer and the U.S. Attorney of any change in the defendant's economic circumstances
that may affect the defendant's ability to pay.

Aii criminal monetary penalties shall be made payable to the Clerk, U.S_ District Court, P.O. Box 1234, Roanoke, Virginia 24006,
for disbursement

Un|ess the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of imprisonment, All criminal monetary
penalties, except those payments made through the Bureau of Prisons' inmate Financial Responsibility Prograrn
are to be made to the clerk of the court, unless otherwise directed by the court, the probation officer, or the United States attorney.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.

m Joint and Several
Defendant Name, Case Number, and Joint and Severai Amount:

l:| The defendant shall pay the cost of prosecution
m The defendant shall pay the following court cost(s):

l:l The defendant shall forfeit the defendant's interest in the following property to the United States'.

Payments shall be applied in the following order: (i) assessment (2) )restitution principal (3) restitution interest (4) fine

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